           Case 1:13-cr-00218-KJM Document 128 Filed 08/06/15 Page 1 of 2


1    BENJAMIN B. WAGNER
     United States Attorney
2    KATHLEEN A. SERVATIUS
     Assistant U.S. Attorney
3    2500 Tulare Street, Suite 4401
     Fresno, California 93721
4    Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
5
     Attorneys for the
6    United States of America
7                          UNITED STATES DISTRICT COURT

8                         EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,            ) CASE NO.: 1:13-CR-00218
                                          )
11                        Plaintiff,      ) STIPULATION TO CONTINUE SENTENCING
                                          ) HEARING; ORDER
12         v.                             )
                                          ) DATE:     August 10, 2015
13   PORFIRO FARIAS,                      ) TIME:     10:00 a.m.
                                          )
14                      Defendant.        )
                                          )
15                                        )
                                          )
16

17       IT IS HEREBY STIPULATED by and between the parties through

18   their respective counsel, Assistant United States Attorney Kathleen

19   A. Servatius, Counsel for Plaintiff, Harry Drandell, counsel for

20   Porfiro Farias, agree that the Sentencing Hearing currently set for

21   Monday, August 10, 2015 at 10:00 a.m. may be continued to Monday,

22   August 17, 2015, at 10:00 a.m. before United States District Judge

23   Anthony W. Ishii. The reason for the continuance is that Kathleen

24   Servatius will needs to respond to the defendant’s Sentencing

25   Memorandum.

26       The parties further agree that time may excluded pursuant to

27   Title 18, United States Code, Sections 3161(h)(1)D) and

28   3161(7)(B)(iv).

29                                - 1 -

30
            Case 1:13-cr-00218-KJM Document 128 Filed 08/06/15 Page 2 of 2


1
                                        BENJAMIN B. WAGNER
2                                       United States Attorney
3
     Dated: August 6, 2015             /s/Kathleen A. Servatius
4                                      KATHLEEN A. SERVATIUS
                                       Assistant U.S. Attorney
5

6    Dated: August 6, 2015             /s/Harry Drandell
                                       HARRY DRANDELL
7                                      Attorney for Enrique Rodriguez
8

9

10

11

12

13                                          ORDER

14         IT IS SO ORDERED that the Sentencing Hearing currently set for

15   Monday, August 10, 2015 at 10:00 a.m. is CONTINUED to Monday, August

16   17, 2015, at 10:00 a.m.        Time shall be excluded for the reason set

17   forth both based on the Court’s finding that the failure to grant

18   the   motion    would   unreasonably   deny    the   government   continuity   of

19   counsel and the ends of justice served by the continuance outweigh

20   the best interest of the public and the defendant in a speedy trial.

21

22
     IT IS SO ORDERED.
23

24   Dated: August 6, 2015
                                       SENIOR DISTRICT JUDGE
25

26
27

28

29                                 - 2 -

30
